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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PRISON LEGAL NEWS, : CIVIL ACTION

PLAINTIFF,
CASE NO.: 05-1812 (RBW)
Vv.

HARLEY G. LAPPIN, DIRECTOR,
FEDERAL BUREAU OF PRISONS,

DEFENDANTS

SECOND DECLARATION OF MICHAEL D. TAFELSKI

I, the undersigned, Michael D. Tafelski, do hereby make the

following unsworn declaration, pertinent to the above-styled and

numbered cause.

1.

I the Deputy Regional Counsel for the Federal Bureau of Prisons
(Bureau), Northeast Region In this position, my responsibilities
include the supervision of legal staff assigned to the Northeast
Regional Office (NERO) that process Freedom of Information Act
(FOIA) requests. I am familiar with the location of records and
types of and databases used to track the requested information.
This declaration supplements my prior declaration dated October

16, 2008.

In searching for responsive records I understood that the request,
2003-08557, sought copies of the verdict, settlement or claim
showing the dollar amount paid, the identify of the
plaintiff/claimant and the identification information of the

lawsuit, claim or attorney fee award in lawsuits or claims where
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the BOP paid money damages and/or attorney fees between January 1,
1996, through July 31, 2003. In September 2006, this office was
contacted by Wilson Moorer, to search for records in response to

this request.

The only responsive records maintained in the Northeast Regional
Office consisted of documents from litigation and administrative
tort claim files involving staff, civilian or inmate complaints or
claims concerning the Northeast Region of the Bureau of Prisons.
No other records as described in paragraph two are maintained by

this office.

The only means of creating an accurate and complete list of
responsive records maintained in the Northeast Regional Office ,
was the following: In order to determine what litigation records
existed in response to this request, NERO staff developed a list
of litigation cases involving the Northeast Region in which money
damages and/or attorney’s fees to litigants or claimants from
January 1, 1996, through July 31, 2003. It was determined the
most thorough method to identify responsive cases was through the
use of the monthly reports, maintained on-site at the NERO, which
reflect litigation cases in which a settlement or judgment
occurred; in order to determine what administrative tort claim

records existed in response to the PLN request, NERO staff

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developed a list of administrative tort claim files in which the
Bureau paid money damages to claimants for the relevant time
period. It was determined the most thorough method to identify
responsive tort claims was by searching two Bureau databases for
responsive records - the Tort Information Management System
(TIMS) program, which was utilized by the Bureau from 1992 until
October 1999 and the Lawpack database from November 1999 until
October 2007. These electronic file systems were used for FTCA,
CECA, and BOPCA administrative claims, and identified settlement

offers.

This review was conducted, for litigation matters, by reviewing an
electronic version of each monthly report for the entire time
period in question (January 1, 1996, through July 31, 2003. ) and,
for tort claims, a review of the above-referenced databases for
claims paid the entire time period in question (January 1, 1996,

through July 31, 2003. ) excluding property claims.

Based on my review of the databases referenced above (electronic
monthly reports, PACER, TIMS and Lawpack), I determined that all
responsive claims maintained in the Northeast Regional Office had
been identified and created a list of those identified documents.

The electronic monthly reports, PACER, TIMS and Lawpack are the
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sources that would reveal responsive documents maintained by

Northeast Region.

7. Based on the list created as a result of my review of (electronic
monthly reports, PACER, TIMS and Lawpack), responsive documents
were retrieved and forwarded as described in my October 16, 2008

declaration, to Wilson Moorer. I did not redact the documents or

apply any exemptions.

I declare under the penalty of perjury and pursuant to 28 U.S.C.
§ 1746 that the foregoing is true and correct to the best of my
knowledge and belief.

am

Executed this Yb day of April 2010.

Jiichael D. Tafeyski
Deputy Regional "Counsel
Northeast Regional Office
Federal Bureau of Prisons
